                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

              In re: Larry W. Farmer, Jr.           )      Case Number: 18-10471
                     Christine S. Farmer            )      Chapter 13 Proceedings
                     Debtors                        )      Judge Arthur I. Harris

        TRUSTEE’S OBJECTION TO MOTION TO MODIFY UNCONFIRMED PLAN

Now comes LAUREN A. HELBLING, the duly appointed, qualified, and standing Chapter 13 Trustee
(the “Trustee”) herein, by and through counsel, and hereby files this objection to the motion to modify
the unconfirmed plan of the Debtors filed on or about April 13, 2018. In support of her objection the
Trustee makes the following representations to the Court:

1.      The Trustee objects to the Debtors’ motion for the following reasons:
        a.     The wage order on the Debtor, Larry Farmer’s employer, Browning Ferris Industries of
Ohio, is not being honored (the Debtors are current in plan payments).

2.     The Trustee reserves the right to amend and/or supplement her objection, should additional
information be provided.

WHEREFORE your Trustee, being a proper party in interest, hereby moves this Honorable Court to
sustain her objection and deny the motion of the Debtors for the reasons cited.

                                             /S/ Philip D. Lamos
                                             PHILIP D. LAMOS (#0066844)
                                             Attorney for Lauren A. Helbling,
                                             Chapter 13 Trustee
                                             200 Public Square, Suite 3860
                                             Cleveland, OH 44114-2321
                                             (216) 621-4268




     18-10471-aih   Doc 38     FILED 05/02/18      ENTERED 05/02/18 14:19:47          Page 1 of 2
                                  CERTIFICATE OF SERVICE

I hereby certify that on May 2, 2018, a true and correct copy of Trustee’s Objection Unconfirmed
Modified Plan was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on the
Court’s Electronic Mail Notice List:

 William J. Balena, on behalf of Larry and Christine Farmer, Debtors, at docket@ohbksource.com

And by regular U.S. mail, postage prepaid, on:

 Larry and Christine Farmer, Debtors, at 213 Erie Street, Elyria, OH 44035


                                             /S/ Philip D. Lamos
                                             PHILIP D. LAMOS (#0066844)



LAH/pl
5/2/18




   18-10471-aih     Doc 38     FILED 05/02/18     ENTERED 05/02/18 14:19:47          Page 2 of 2
